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EXHIBIT 5

 
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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

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THE CITY OF HUNTINGTON,
Plaintiff,

vs. CIVIL ACTION
NO. 3:17-01362
AMERISOURCEBERGEN DRUG
CORPORATION, et al.,
Defendants.

 

CABELL COUNTY COMMISSION,
Plaintiff,
Vs. CIVIL ACTION
NO. 3:17-01665
AMERISOURCEBERGEN DRUG
CORPORATION, et al.,

Defendants.

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Videotaped and videoconference deposition
of CONNIE PRIDDY taken by the Defendants under the
Federal Rules of Civil Procedure in the above-
entitled action, Pursuant to notice, before Teresa
S. Evans, a Registered Merit Reporter, at the
Mountain Health Arena, One Civic Center Plaza,
Huntington, West Virginia, on the 13th day of July,
2020.

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heroin, I thought, "There is no way that is
happening, because people don't use heroin."

And then I realized that the brain
Science behind it, once you are addicted to an
Opioid and your source dries up, that you are going
to use something that's much more readily
available.

So that was probably in 2005 to 2010.

Ox Had there been heroin usage in Huntington
and Cabell County before 2005 or 2010?

A. Not that I was aware of. But I certainly
wasn't on the front lines, because I was flying on
the helicopter.

0. So whether it was happening or not
happening, you just --

A. Exactly.

Q. -- don't know. Do you know of any
Statistics that are kept about what drug a person
starts using -- you know, you just made the comment
about the source of Opioids dries up and somebody
goes to heroin.

Do you know of any statistics that
would tell us what drug a person starts on?

A. And this is just from the experience of

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they're going to try to fulfill that need somewhere
else.

Q. And what is the basis of that statement?
What's the data that you would rely on for that
Statement that if people can't get -- if their
access to legal -- legally-prescribed Opioids is
cut off, they will go to illegal street drugs?

A. Based on just the limited research that I
have done, is that once you have that level of
dependence, you are sick physically if you do not
fulfill that, and that you are going to turn to the
streets to get it.

SO as a disease process, you're going
to have vomiting, you're going to have diarrhea,
you're going to have muscle cramps, you're going to
have tremors, and you're going to do something to
get those.

And if you can't, then -- if you can't
get somebody to prescribe it for you and you can't
get it filled through a prescription, you're gonna
turn to something that's readily available, and
most times cheaper.

Q. And -- but you've told us earlier that you

don't have data that would tell us here in

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Huntington and Cabell County what percentage of

people using illegal drugs started with a legal

drug?

A. I do not have that as a
correct.

O's ALL wight.

A. That was just anecdotal
interviewed.

0. All right. And then --

that talks about pill mills --
A. Uh-huh.
QO. -- and it looks like it

perhaps some news articles about

data point, you are

per our clients

so the next slide

quotes some --

pill mills and

their impact on the increase in overdoses and

deaths caused by illegal -- or by drug use.

Is that what that's Supposed to be

talking about?

A. He's got quotes from newspapers, so I'm

assuming that that is to substantiate that there

were pill mills in this area. That would all I

would really be able to --

QO. All right. And it looks like that's -—-

pill mills is included as one of

the three major

issues identified and addressed on these -- talking

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